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Prob 35
(Rev.3/97)

                              Report and Order Terminating Supervision
                                  Prior to Original Expiration Date

                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA




     United States of America,

                                    Plaintiff,
                                                    Docket No. 0864 0:16CR00344-001(MJD)
                   v.

     Marlyn Charles Comes


                                   Defendant.




             On July 18, 2019 the above defendant was placed on supervision for a period of
24 months. This defendant has complied with the rules and regulations of supervision and is no
longer in need of supervision. It is accordingly recommended that this defendant be discharged
from supervision.
                                         ORDER OF THE COURT
             Pursuant to the above report, it is ordered that the defendant be discharged from
supervision and that the proceedings in the case be terminated.



Dated this        31st   Day of March            , 2021   s/Michael J. Davis
                                                           Honorable Michael J. Davis
                                                           Senior U.S. District Judge
